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Case: 20-30604   Doc# 1   Filed: 07/26/20   Entered: 07/26/20 17:35:46   Page 3 of 53
Case: 20-30604   Doc# 1   Filed: 07/26/20   Entered: 07/26/20 17:35:46   Page 4 of 53
                          /s/ Ori Katz




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                        ACTION BY WRITTEN CONSENT OF
                            THE SOLE DIRECTOR OF
                    PROFESSIONAL FINANCIAL INVESTORS, INC.

         The undersigned, being the sole member of the Board of Directors (the “Board”) of
Professional Financial Investors, Inc., a California corporation (the “Company”), pursuant to
Section 307(b) of the California Corporation Code and the Bylaws of the Company (the
“Bylaws”), hereby adopts the following resolutions by written consent, effective as of the dated
signature below:

FILING OF CHAPTER 11 PETITION

         WHEREAS, the Board has considered the financial condition and circumstances of
         the Company, including without limitation the assets and liabilities of the
         Company, the strategic alternatives available to the Company, and the impact of
         the foregoing on the Company’s operational performance.

         WHEREAS, the Board has reviewed, considered and received the
         recommendations of the Company’s management and the Company’s
         professional advisers as to the relative risks and benefits of a bankruptcy
         proceeding.

         WHEREAS, in the judgment of the Board, it is desirable and in the best interests of
         the Company, its creditors, its equity holders and other stakeholders, that the
         Company be authorized and empowered to file, at such time, if any, as is deemed
         appropriate by an authorized officer of the Company, a voluntary petition for
         relief (a “Petition”) under chapter 11 of title 11 of the United States Code (the
         “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern
         District of California (the “Bankruptcy Court”), for the purpose of initiating a
         bankruptcy case (the “Bankruptcy Case”) for the Company and restructuring its
         financial affairs and for all other lawful purposes under the Bankruptcy Code.

         NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is
         desirable and in the best interest of the Company, its creditors, its equity holders
         and other stakeholders, that the Petition be filed on behalf of the Company.

         RESOLVED FURTHER, that filing of the Petition on behalf of the Company be, and
         the same hereby is, approved and adopted in all respects and that Michael Hogan,
         the Company’s Chief Reorganization Officer (the “Authorized Officer”), acting
         alone, is hereby authorized and empowered on behalf of, and in the name of, the
         Company, (i) to execute and verify the Petition as well as any other ancillary
         documents and to cause the Petition to be filed with the Bankruptcy Court, and
         (ii) to perform any and all such acts as are reasonable, advisable, expedient,
         convenient, proper or necessary to effect any of the foregoing.


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         RESOLVED FURTHER, that in connection with the foregoing, the Authorized
         Officer, acting alone, is hereby designated as the individual with primary and/or
         sole responsibility for handling matters in the Bankruptcy Case.

         RESOLVED FURTHER, that the Authorized Officer is authorized and empowered,
         on behalf of and in the name of the Company to execute, verify and file with the
         Bankruptcy Court, or cause to be executed, verified and/or filed with the
         Bankruptcy Court (or direct others to do so on his behalf) all necessary
         documents, including, without limitation, the petitions, schedules, lists, motions,
         applications and other papers and documents necessary or desirable in connection
         with the Bankruptcy Case and to take any and all other actions deemed necessary,
         proper, or desirable in connection with the Bankruptcy Case, with a view to the
         successful prosecution of the case.

         RESOLVED FURTHER, that the Authorized Officer is authorized and empowered
         to retain on behalf of the Company, the law firm of Sheppard Mullin Richter &
         Hampton LLP as bankruptcy counsel, to render legal services to, and to represent
         the Company in connection with such proceedings and all other related matters in
         connection therewith, on such terms as the person retaining such firm shall
         approve.

         RESOLVED FURTHER, that the Authorized Officer is authorized and empowered
         on behalf of, and in the name of, the Company to continue the employment and
         retention of professionals in the ordinary course and in the Bankruptcy Case to
         retain and employ other attorneys, accountants, and other professionals, including
         conflicts counsel, to assist in the Company’s Bankruptcy Case on such terms as
         are deemed necessary, proper, or desirable.

         RESOLVED FURTHER, that any and all actions taken by the Authorized Officer
         pursuant to the foregoing resolutions are hereby approved.

GENERAL AUTHORIZING RESOLUTION

         RESOLVED FURTHER, that the officers of the Company be, and each of them
         hereby is, authorized and directed, for and on behalf of the Company, to take such
         further action, for the actions set forth herein, and execute such additional
         documents as each may deem necessary or appropriate to carry out the purposes
         of the above resolutions.

                                      [Signature page follows]




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       This Action By Written Consent of the Sole Director shall be filed with the minutes of the

proceedings of the Board of Directors of the Company and shall be effective as of the dated

signature below.

       IN WITNESS WHEREOF, the undersigned has executed this Action By Written Consent of

the Sole Director as of the dated signature below.




                                                     Charlene Albanese
                                                               July 23, 2020
                                                     Date:




            Signature Page to Action by Written Consent of the Sole Director of
                           Professional Financial Investors, Inc.
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      Fill in this information to identify the case:

      Debtor name   Professional Financial Investors, Inc.
      United States Bankruptcy Court for the:   Northern                District of   CA
                                                                                      (State)
                                                                                                                                                   Check if this is an
      Case number (If known):                                                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
    Claims and Are Not Insiders                                                                                                                                 12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated,   total claim amount and deduction for value of
                                                                                 services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
     William Levine
     IRA Services TRAD #515012
1                                                                                 Loan                                    $682,000            $499,370 $182,630
     2 Snowden Lane
     Fairfax, CA 94930

     Jones/Zahn 2018 Trust
2                                                                                                                         $300,000            $143,548 $156,452
     [No address on file]

     Joshua Berns
3    2159 Cantalier                                                               Loan                                    $500,000            $381,609 $118,391
     Sacramento, CA 95815

     Trisha Waldron
3    9 Gerstle Court                                                              Loan                                    $500,000            $381,609 $118,391
     San Rafael, CA 94901
     Peter A. Bagatelos and Anne
     M.H. Bagatelos Revocable
5    Trust                                                                        Loan                                    $244,167            $138,592 $105,575
     105 Shooting Star Isle
     Foster City, CA 94404
     Molino Family Trust 2014
6    47 Thalia Street                                                             Loan                                    $240,000            $137,784 $102,216
     Mill Valley, CA 94941
     Alan W. Ziff Revocable
     Intervivos Trust
7                                                                                 Loan                                    $150,000              $53,634          $96,366
     2349 Hilltop Court
     Santa Rosa, CA 95404


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                                                                                                                                                               73ZL-319169

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    Debtor   Professional Financial Investors, Inc.                                  Case number (if known) __________________
             Name




                                                                                                            Amount of unsecured claim
                                                                                                            If the claim is fully unsecured, fill in only
                                                                                                            unsecured claim amount. If claim is partially
                                                                      Nature of the claim                   secured, fill in total claim amount and deduction
                                                                                            Indicate if
                                                                      (for example, trade                   for value of collateral or setoff to calculate
                                        Name, telephone number, and                         claim is
Name of creditor and complete mailing                                 debts, bank loans,                    unsecured claim
                                        email address of creditor                           contingent,
address, including zip code                                           professional
                                        contact                                             unliquidated,
                                                                      services, and
                                                                                            or disputed
                                                                      government                            Total claim, if   Deduction for     Unsecured
                                                                      contracts)                            partially         value of          claim
                                                                                                            secured           collateral or
                                                                                                                              setoff


      Christopher Berns
8     9321 168th Place NE                                             Loan                                      $350,000         $264,026          $85,974
      Redmond, WA 98052

      Karen C. Bagatelos
9     732 Chevery Street                                              Loan                                      $104,167           $20,185         $83,982
      San Francisco, CA 94131
      Michael Bagatelos
9     185 Topaz Way                                                   Loan                                      $104,167           $20,185         $83,982
      San Francisco, CA 94131
      Anne H. Rohrbach TTEE
      The Annie Rohrbach
      Revocable Trust, dtd. May 26,
11                                                                    Loan                                      $100,000           $19,377         $80,623
      2010
      2732 Houston Drive
      Los Osos, CA 93402
      Eugene Ziff
12    2349 Hilltop Court                                              Loan                                      $320,000         $247,935          $72,065
      Santa Rosa, CA 95404
      Elizabeth Moore
      IRA Services #726874
13                                                                    Loan                                      $300,000         $228,966          $71,034
      13 Baytree Lane
      San Anselmo, CA 94960
      John A. or Kathryn Trimble
14    235 Main Burfordville Street                                    Loan                                       $87,000           $16,858         $70,142
      Burfordville, MO 63739
      Kevin P. Shambrook and
      Frances H. Lerner Revocable
15    Trust                                                           Loan                                      $100,000           $35,756         $64,244
      2625 Brooks Ave.
      El Cerrito, CA 94530

      Claire Peaslee
15                                                                    Loan                                      $100,000           $35,756         $64,244
      [No address on file]

      Lauren Vela
      Pensco #VE056
17                                                                    Loan                                       $67,500           $13,080         $54,420
      639 Magnolia Avenue
      Larkspur, CA94939

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                                                                                                                                                 73ZL-319169

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                                                                 53
 Debtor     Professional Financial Investors, Inc.                                   Case number (if known) __________________
            Name




                                                                                                           Amount of unsecured claim
                                                                                                           If the claim is fully unsecured, fill in only
                                                                      Nature of the claim                  unsecured claim amount. If claim is partially
                                                                                            Indicate if    secured, fill in total claim amount and deduction
                                                                      (for example, trade
                                        Name, telephone number, and                         claim is       for value of collateral or setoff to calculate
Name of creditor and complete mailing                                 debts, bank loans,
                                        email address of creditor                           contingent,    unsecured claim
address, including zip code                                           professional
                                        contact                                             unliquidated,
                                                                      services, and
                                                                                            or disputed   Total claim, if    Deduction for     Unsecured
                                                                      government
                                                                      contracts)                           partially         value of          claim
                                                                                                           secured           collateral or
                                                                                                                             setoff


     Shane Black
18   359 Wilson Way                                                   Loan                                      $60,000           $11,627         $48,373
     Larkspur, CA 94939
     Sharon L. Overbey Revocable
     Trust
19                                                                    Loan                                      $73,765           $26,375         $47,390
     P.O. Box 1114
     Mt. Shasta, CA 96067
     Javier Family Trust 2006
     (Arthur & Laurie)
20                                                                    Loan                                      $69,000           $24,672         $44,328
     27 Olive Street
     Novato, CA 94945
     Kiah Bosy
21   P.O. Box 921                                                     Loan                                      $50,000             $9,689        $40,311
     Fairfax, CA 94978
     H. Robert Noble
21   60 Ora Way $203                                                  Loan                                      $50,000             $9,689        $40,311
     San Francisco, CA 94131
     Clyde S. Sada Living Trust
21   460 Navaro Way                                                   Loan                                      $50,000             $9,689        $40,311
     San Jose, CA 95134
     Meridian Commercial
24   711 Grand Ave., Suite 290                                        Trade debt                                $40,000                           $40,000
     San Rafael, CA 94901
     Mindy Klein
25   P.O. Box 801                                                     Loan                                     $147,500         $108,002          $39,498
     Fairfax, CA 94978
     Joel Rubenzahl
     IRA Services TRAD #732345
26                                                                    Loan                                      $60,000           $21,454         $38,546
     3159 Lewiston Ave.
     Berkeley, CA 94705
     Robert N. Deross, Jr.
27   5061 Tesoro Way                                                  Loan                                     $130,000           $95,188         $34,812
     El Dorado Hills, CA 95760
     Laura Kradjan-Cronin
28   58 Club View Drive                                               Loan                                      $50,000           $17,878         $32,122
     Novato, CA 94949
     Dominique Shelton
29   P.O. Box 1849                                                    Loan                                     $108,000           $79,080         $28,920
     Kihei, HI 96753



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                                                                                                                                                73ZL-319169

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                                                                 53
 Debtor     Professional Financial Investors, Inc.                                    Case number (if known) __________________
            Name




                                                                                                        Amount of unsecured claim
                                                                                                        If the claim is fully unsecured, fill in only
                                                                      Nature of the claim               unsecured claim amount. If claim is partially
                                                                                          Indicate if
                                                                      (for example, trade               secured, fill in total claim amount and deduction
                                        Name, telephone number, and                       claim is
Name of creditor and complete mailing                                 debts, bank loans,                for value of collateral or setoff to calculate
                                        email address of creditor                         contingent,
address, including zip code                                           professional
                                        contact                                           unliquidated, unsecured claim
                                                                      services, and
                                                                                          or disputed
                                                                      government                        Total claim, if       Deduction for       Unsecured
                                                                      contracts)                        partially             value of            claim
                                                                                                           secured           collateral or
                                                                                                                             setoff
     Mary Durst Trust
30   313 Kensington Commons                                           Loan                                     $100,000           $73,222        $26,778
     Livermore, CA 94551
     Suki & Russell Munsell
30   524 San Anselmo Ave. #222                                        Loan                                     $100,000           $73,222        $26,778
     San Anselmo, CA 94960
     Janet Rostad TTEE
     Janet Rostad Rovacble Trust
30   U/A 5/24/12                                                      Loan                                     $100,000           $73,222        $26,778
     1090 Bell Marin Keys Blvd.
     Novato, CA 94949-5335




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                                                                                                                                               73ZL-319169

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                                                                 53
 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVHDQGWKLVILOLQJ


              3URIHVVLRQDO)LQDQFLDO,QYHVWRUV,QF
 'HEWRU1DPHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                          1RUWKHUQ
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH BBBBBBBBBBBBBBBBBBBBBB              &$
                                                                 'LVWULFWRIBBBBBBBBBB
                                                                                6WDWH 
 &DVHQXPEHU ,I NQRZQ     BBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP
'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV                                                                                        

$QLQGLYLGXDOZKRLVDXWKRUL]HGWRDFWRQEHKDOIRIDQRQLQGLYLGXDOGHEWRUVXFKDVDFRUSRUDWLRQRUSDUWQHUVKLSPXVWVLJQDQGVXEPLW
WKLVIRUPIRUWKHVFKHGXOHVRIDVVHWVDQGOLDELOLWLHVDQ\RWKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQWKDWLVQRWLQFOXGHGLQWKHGRFXPHQW
DQGDQ\DPHQGPHQWVRIWKRVHGRFXPHQWV7KLVIRUPPXVWVWDWHWKHLQGLYLGXDO¶VSRVLWLRQRUUHODWLRQVKLSWRWKHGHEWRUWKHLGHQWLW\RIWKH
GRFXPHQWDQGWKHGDWH%DQNUXSWF\5XOHVDQG

:$51,1*%DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWFRQFHDOLQJSURSHUW\RUREWDLQLQJPRQH\RUSURSHUW\E\IUDXGLQ
FRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWRRULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&
DQG



            'HFODUDWLRQDQGVLJQDWXUH



         ,DPWKHSUHVLGHQWDQRWKHURIILFHURUDQDXWKRUL]HGDJHQWRIWKHFRUSRUDWLRQDPHPEHURUDQDXWKRUL]HGDJHQWRIWKHSDUWQHUVKLSRU
         DQRWKHULQGLYLGXDOVHUYLQJDVDUHSUHVHQWDWLYHRIWKHGHEWRULQWKLVFDVH

         ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKHGRFXPHQWVFKHFNHGEHORZDQG,KDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQGFRUUHFW


              6FKHGXOH$% $VVHWV±5HDO DQG 3HUVRQDO3URSHUW\ 2IILFLDO)RUP$%

              6FKHGXOH ' &UHGLWRUV:KR +DYH &ODLPV6HFXUHGE\ 3URSHUW\ 2IILFLDO)RUP'

              6FKHGXOH ()&UHGLWRUV:KR +DYH 8QVHFXUHG&ODLPV 2IILFLDO)RUP()

              6FKHGXOH *([HFXWRU\&RQWUDFWV DQG8QH[SLUHG/HDVHV 2IILFLDO)RUP*

              6FKHGXOH +&RGHEWRUV 2IILFLDO)RUP+

              6XPPDU\RI $VVHWV DQG/LDELOLWLHV IRU1RQ,QGLYLGXDOV 2IILFLDO)RUP6XP

              $PHQGHG6FKHGXOHBBBB

         ✘
              &KDSWHURU&KDSWHU &DVHV/LVWRI&UHGLWRUV :KR+DYHWKH  /DUJHVW 8QVHFXUHG&ODLPV DQG $UH 1RW,QVLGHUV 2IILFLDO)RUP


         
         ✘                                               &UHGLWRU0DLOLQJ0DWUL[
               2WKHUGRFXPHQWWKDWUHTXLUHVDGHFODUDWLRQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW


                     
        ([HFXWHGRQ BBBBBBBBBBBBB                        8   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                            00'' <<<<                      6LJQDWXUHRILQGLYLGXDOVLJQLQJRQEHKDOIRIGHEWRU



                                                                0LFKDHO+RJDQ
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                3ULQWHGQDPH

                                                                &KLHI5HVWUXFWXULQJ2IILFHU
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                3RVLWLRQRUUHODWLRQVKLSWRGHEWRU



2IILFLDO)RUP                            'HFODUDWLRQ8QGHU3HQDOW\RI3HUMXU\IRU1RQ,QGLYLGXDO'HEWRUV
            Case: 20-30604                   Doc#  1 Filed: 07/26/20 Entered: 07/26/20 17:35:46                               Page 13 of
                                                                            53                                                     $PHULFDQ/HJDO1HW ,QF
                                                                                                                                   ZZZ)RUPV:RUN)ORZFRP
                            UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF CALIFORNIA


   In re         Professional Financial Investors, Inc.                       Case No.
                               Debtor(s)                                      Chapter        11




                    CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

       Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to
evaluate possible disqualification or recusal, the undersigned authorized officer for the above-
captioned debtor, certifies that the following is a (are) corporation(s), other than the debtor or a
governmental unit, that directly or indirectly own(s) 10% or more of any class of the
corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




           None [Check if applicable]




   Date        July 2, 2020                              Signature
                                                                      Name: Michael Hogan
                                                                      Title: Chief Restructuring Officer




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                                                    53
350 Ignacio Condominium
350 Ignacio Blvd 300
Novato, CA 94949

Avilas
359 Bel Marin Keys Blvd. Ste. 28
Novato, CA 94523

Bay Cities Refuse Service, Inc.
2525 Garden Tract Road
Richmond, CA 94801

Bidaurreta Landscape
P.O. Box 2719
Sebastopol, CA 95473

Gordon Cato Landscape
1443 Meadowlark Lane
Petaluma, CA 94954

Nardell Chitsaz & Associates LLP
999 Fifth Avenue, Suite 230
San Rafael, CA 94901

City of Novato
922 Machin Avenue
Novato, CA 94945

Home Depot Credit Service
PO Box 78047
Phoenix, AZ 85062-8047

Dominguez
18235 Happy Lane
Sonoma, CA 95476

EIS Consulting Group, Inc.
1445 Manzanita Avenue
Santa Rosa, CA 95404

Marc Elias Maintenance
108 Coleman Drive
San Rafael, CA 94901




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                                                 53
Fishman Supply Company
PO Box 750279
Petaluma, CA 94975-0279

Golden Gate Investigations
2 Rosalia Court
Novato, CA 94945

Ignacio Hills Association
C/O Marshal & Company
2175 Francisco Blvd, Suite A
San Rafael, CA 94901

Hilcias Painting, Inc.
1445 Ulloa Street
San Francisco, CA 94116

LoopNet
PO Box 791466
Baltimore, MD 21279-1466

Matrix HG, Inc.
115 Mason Circle Suite B
Concord, CA 94520

MCC Building Maintenance, LLC
83 Hamilton Drive, Suite 104
Novato, CA 94949

Meridian Commercial
711 Grand Avenue, Suite 290
San Rafael, CA 94901

Redwood Security Systems, Inc.
PO Box 1809
Mill Valley, CA 94942

Second Nature Interior Plant Co.
PO Box 7538
Cotati, CA 94931-7538

Small/Walraven, LLC
7430 Redwood Blvd. Ste. B
Novato, CA 94945




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                                                 53
Stanley Convergent Security
Solutions, Inc.
Dept. CH 10651
Palatine, IL 60055

Township Engineering Inc.
26 Pamaron Way, Suite A
Novato, CA 94941

Transbay Security Service
2018 Fourth Street
San Rafael, CA 94901

US Bank
PO Box 790448
St. Louis, MO 63179-0408

Universal Site Services
760 E Capitol Avenue
Milpitas, CA 95035

Warren Construction & Roofing, Inc.
PO Box 732
Santa Rosa, CA 95402

Zillow Rental Network
Dept. 3267
PO Box 123267
Dallas, TX 75312-3267

Felix Rodriquez Bojorquez
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                                              53
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                                               53
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                                              53
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                                                53
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